          Case 5:16-cv-01094-FB         Document 55       Filed 12/27/18     Page 1 of 2


                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

SKY TOXICOLOGY, LTD.; SKY                         )
TOXICOLOGY LAB MANAGEMENT,                        )
LLC; FRONTIER TOXICOLOGY,                         )
LTD.; FT LAB MANAGEMENT LLC;                      )
HILL COUNTRY TOXICOLOGY, LTD.;                    )
ECLIPSE LAB MANAGEMENT, LLC;                      )
and AXIS DIAGNOSTICS, INC.;                       )
                                                  )
        Plaintiffs,                               )
                                                  )
V.                                                )     CIVIL ACTION NO. SA-16-CA-1094-FB
                                                  )
UNITEDHEALTHCARE INSURANCE;                       )
COMPANY; UNITEDHEALTHCARE                         )
OF TEXAS, INC.;                                   )
UNITEDHEALTHCARE OF FLORIDA,                      )
INC.; and UNITEDHEALTHCARE                        )
SERVICES, INC.,                                   )
                                                  )
        Defendants.                               )

                 ORDER ACCEPTING REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

        Before the Court are the Report and Recommendation of the United States Magistrate Judge

(docket no. 44) concerning plaintiffs’ motion to dismiss defendants’ counterclaims (docket no. 8),

plaintiffs’ written objections (docket no. 46) thereto, and defendants’ response (docket no. 49) to

plaintiffs’ objections.

        Where no party has objected to a Magistrate Judge's Report and Recommendation, the Court

need not conduct a de novo review of the Report and Recommendation. See 28 U.S.C. § 636(b)(1) ("A

judge of the court shall make a de novo determination of those portions of the report or specified

proposed findings and recommendations to which objection is made."). In such cases, the Court need

only review the Report and Recommendation and determine whether it is clearly erroneous or contrary

to law. United States v. Wilson, 864 F.2d 1219, 1221 (5th Cir.), cert. denied, 492 U.S. 918 (1989).
          Case 5:16-cv-01094-FB          Document 55         Filed 12/27/18      Page 2 of 2


       On the other hand, any Report and Recommendation to which objection is made requires de

novo review by the Court. Such a review means that the Court will examine the entire record, and will

make an independent assessment of the law. The Court need not, however, conduct a de novo review

when the objections are frivolous, conclusive, or general in nature. Battle v. United States Parole

Comm'n, 834 F.2d 419, 421 (5th Cir. 1987).

       The Court has thoroughly analyzed the parties’ submissions in light of the entire record. As

required by Title 28 U.S.C. § 636(b)(1)(c), the Court has conducted an independent review of the entire

record in this cause and has conducted a de novo review with respect to those matters raised by the

objections. After due consideration, and for the reasons set forth in the report and defendants’ response

to plaintiffs’ objections, the Court concludes the objections lack merit.

       IT IS THEREFORE ORDERED that the Report and Recommendation of the United States

Magistrate Judge (docket no. 44) is ACCEPTED pursuant to 28 U.S.C. § 636(b)(1) such that Plaintiffs’

Motion to Dismiss Counterclaims of Defendants Pursuant to FRCP 12(b)(1), 12(b)(6), and 12(b)(7)

(docket no. 8) is DENIED. Defendants, however, are GRANTED leave to amend their counterclaims

to cure the pleading deficiencies with respect to their tortious interference claim as identified in the

Report and Recommendation (docket no. 44).

       IT IS FURTHER ORDERED that this case remains referred to the Magistrate Judge for further

pretrial proceedings.

       It is so ORDERED.

       SIGNED this 27th day of December, 2018.


                                         _________________________________________________
                                       FRED BIERY
                                       UNITED STATES DISTRICT JUDGE
